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In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS

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ANNA GILERMAN,           *
                         *                            No. 15-624V
             Petitioner, *                            Special Master Christian J. Moran
                         *
v.                       *                            Filed: February 8, 2017
                         *
SECRETARY OF HEALTH      *                            Attorneys’ fees and costs; award in
AND HUMAN SERVICES,      *                            the amount to which respondent does
                         *                            not object.
             Respondent. *
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Maximillian J. Muller, Muller Brazil LLP, Desher, PA, for petitioner;
Amy Kokot, United States Dep’t of Justice, Washington, DC, for respondent.


     UNPUBLISHED DECISION ON ATTORNEYS’ FEES AND COSTS1

      On June 18, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., (the
“Vaccine Act”). Petitioner alleged that she suffered linchen planus. On August
23, 2016, the undersigned issued a decision awarding compensation to petitioner
based on the parties’ stipulation.

       Because petitioner received compensation, petitioner is entitled to an award
of attorneys’ fees and costs. 42 U.S.C. § 300aa-15(e).


1
  Because this unpublished decision contains a reasoned explanation for the action in this case,
the undersigned intends to post it on the United States Court of Federal Claims' website, in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review,
the undersigned agrees that the identified material fits within this definition, the undersigned will
redact such material from public access.
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       On February 2, 2017, petitioner filed a motion for attorneys’ fees and costs;
respondent filed a response not objecting to the amount sought on February 7,
2017. Petitioner requests attorneys’ fees in the amount of $16,944.50 and
attorneys’ costs in the amount of $893.02 for a total amount of $17,837.52. In
accordance with General Order #9, petitioner’s counsel represents that petitioner
incurred no out-of-pocket expenses.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request and the lack of
opposition from respondent, the undersigned GRANTS petitioner’s motion for
attorneys’ fees and costs.

       Accordingly, the undersigned awards the total of $17,837.52. Of this
amount $ 17,837.52 shall be payable as a lump sum in the form of a check
jointly payable to petitioner and petitioner’s counsel Maximillian J. Muller. 2

       The clerk of the court shall enter judgment in accordance herewith.3

       IT IS SO ORDERED.

                                                    s/Christian J. Moran
                                                    Christian J. Moran
                                                    Special Master




2
  This amount is intended to cover all legal expenses incurred in this matter. This award
encompasses all charges by the attorney against a client, “advanced costs” as well as fees for
legal services rendered. Furthermore, § 15(e)(3) prevents an attorney from charging or
collecting fees (including costs) that would be in addition to the amount awarded herein. See
generally Beck v. Sec’y of Health & Human Servs., 924 F.2d 1029 (Fed. Cir. 1991).
3
 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing
of notice renouncing the right to seek review.

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